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AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                      for the
                                                            District District
                                                        __________   of Massachusetts
                                                                              of __________
                              M.R. et al                                       )
                                 Plaintiff                                     )
                                    v.                                         )     Civil Action No.   1:24-cv-12427-WGY
                    Raw Seafoods, Inc. et al                                   )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties RU attorneys                   Dates
Jeff M. Rosin                                                        /s/ Jeffrey Rosin                                          02/10/2025

Lisbeth Valdez                                                       /s/ Lisbeth Valdez                                         02/10/2025

Raw Sea Foods, Inc., Scott Hutchens, Jason
Hutchens, and Rolando Chach

                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:             2/19/2025                                                         /s/ William G. Young
                                                                                                   District Judge’s signature

                                                                                   William G. Young, United States Judge
                                                                                                    Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.
